Case 18-12947 Doc 46 Filed 12/23/19 Entered 12/23/19 15:39:38 Main Document Page 1 of 3




                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA


    IN RE: HELEN J DROUILLARD                               CASE NO. 18-12947; SEC A
                                                            CHAPTER 13

                  RESPONSE TO TRUSTEE’S MOTION TO SELL PROPERTY
                             FREE AND CLEAR OF LIENS

            NOW INTO COURT, through undersigned counsel, comes NATIONSTAR MORTGAGE

   LLC D/B/A MR. COOPER ("Creditor"), a secured creditor in the above entitled and numbered

   case, who respectfully represents as follows:

                                                     1.

            Creditor is the holder of a note in the original principal amount of $104,800.00 dated April

   10,2013 and signed by Helen Janet Drouillard, and secured by a mortgage registered in Polk

   County, Florida, affecting immovable property known as 7005 Hazeltine Circle, Lakeland, FL

   33810.

                                                     2.

            David V. Adler, (“Trustee”) filed a Motion to Sell Real Property Free and Clear of Liens

   (“Motion to Sell”) on December 10, 2019, with a hearing set for January 8, 2020 at 2:00 p.m.

                                                     3.

            The Motion to Sell is proposing to sell the property for $174,000.00 and the outstanding

   indebtedness to Mr. Cooper in an approximate amount of $121,023.00 will be satisfied at the

   closing on the sale of the property. The estimated payoff as of December 23, 2019 is $123,397.70.
Case 18-12947 Doc 46 Filed 12/23/19 Entered 12/23/19 15:39:38 Main Document Page 2 of 3




                                                     4.

          Creditor has no opposition to the Motion to Sell as long as Creditor receives the full amount

   to pay the loan in full subject to a current payoff, unless a decision is made by Creditor in writing

   to accept a short sale, otherwise the lien will remain in effect.

                                                     5.

          For the foregoing reason, Creditor responds to the Motion to Sell proposed by the Trustee.

          WHEREFORE, CREDITOR PRAYS that if the Motion to Sell is granted, it is ordered that

   Creditor be paid in full subject to a current payoff, unless a decision is made by the Creditor in

   writing to accept a short sale or alternatively that its lien be recognized and shall remain in effect.

                                                  DEAN MORRIS, L.L.C.
                                                  1820 Avenue of America
                                                  P. O. Box 15270
                                                  Monroe, LA 71207-5270
                                                  (318) 388-1440

                                                  /S/ Jason R. Smith
                                                  ATTORNEY FOR CREDITOR
Case 18-12947 Doc 46 Filed 12/23/19 Entered 12/23/19 15:39:38 Main Document Page 3 of 3




                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA



    IN RE:    HELEN J DROUILLARD                                         CASE NO. 18-12947
                                                                         CHAPTER 13


                                   CERTIFICATE OF SERVICE

          I, Jason R. Smith, hereby certify that I have notified the following interested parties of the

   Response to Trustee's Motion to Sell Property Free and Clear of Liens filed by NATIONSTAR

   MORTGAGE LLC D/B/A MR. COOPER, as reflected on the foregoing notice, to-wit:

    Helen J Drouillard                                David V. Adler
    18205 Monga Dr.                                   Trustee
    Covington, LA 70433                               Post Office Box 55129
                                                      Metairie, LA 70055


    Rachel Thyre Anderson                             Office of the U.S. Trustee
    428 W. 21st Ave.                                  400 Poydras Street
    Covington, LA 70433                               Suite 2110
                                                      New Orleans, LA 70130


   by mailing this notice and a copy of the Response to Trustee's Motion to Sell Property Free and

   Clear of Liens filed herein by United States Mail, first class, postage prepaid and properly

   addressed, all on this the 23rd day of December, 2019.

                                                     DEAN MORRIS, L.L.C.
                                                     1820 Avenue of America
                                                     P.O. Box 15270
                                                     Monroe, LA 71207-5270
                                                     (318) 388-1440

                                                     /S/Jason R. Smith
                                                     ATTORNEY FOR CREDITOR
